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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND

    Chambers of                                                                    101 West Lombard Street
    Matthew J. Maddox                                                                          Chambers 3B
    United States Magistrate Judge                                                Baltimore, Maryland 21201
    MDD MJMChambers@mdd.uscourts.gov                                                         (410) 962-3407




                                           March 29, 2022

                 ORDER SCHEDULING SETTLEMENT CONFERENCE

     RE: XL Specialty Insurance Company v. Bighorn Construction and Reclamation, LLC, et al.
         Civil No. BAH-21-3068

Dear Counsel:

        Please be advised that a settlement conference in the above-referenced case is scheduled for
Thursday, June 2, 2022 at 10:00 a.m. We will proceed remotely by video teleconference via
ZoomGov, a licensed version of Zoom with added security. If you have any issues or questions
about proceeding remotely, please send me an ex parte email to the chambers email address:
MDD_MJMChambers@mdd.uscourts.gov. If you have a conflict with June 2, 2022, you should
submit a letter to my chambers, within one week of this letter, requesting rescheduling and include
alternate dates for the conference which you have confirmed are acceptable to all parties.

      To facilitate email invitations and instructions for the video teleconference, please send the
names of the attendees and their email addresses to my chambers email address as soon as
possible.

      Please review this letter carefully, as it is an Order of the Court that establishes certain
prerequisites that must be fulfilled prior to the commencement of the settlement conference.

       PLEASE NOTE: It is essential that the parties, or in the case of a business entity, a
representative with complete authority to enter into a binding settlement, attend the settlement
conference personally. A person with complete authority is someone who has the experience and
judgment to exercise that authority without having to consult with anyone who is not in attendance
at the settlement conference.1 Attendance by the attorney for a party is not sufficient. Please also
be advised that the conference may take the entire day, and all those in attendance should plan
accordingly.

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  This requirement will only be waived upon a showing of exceptional circumstances. If counsel believes
that such circumstances exist, a letter detailing why this Court should excuse the representative from
personal attendance should be electronically filed for my consideration at least two weeks before the
scheduled settlement conference or immediately upon learning of the extenuating circumstance(s),
whichever event is sooner.
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      Each party is requested to submit a short ex parte letter, NOT TO EXCEED FIVE PAGES, by
email to MDD_MJMChambers@mdd.uscourts.gov no later than Thursday, May 19, 2022,
candidly setting forth the following:

              (1)      facts you believe you can prove at trial;

              (2)      the major weaknesses in each party's case, both factual and legal;

              (3)      reference to any pending dispositive or other motions that would have a
                       significant effect on settlement for the Court to review prior to settlement
                       (including a tabbed and highlighted copy of any relevant memoranda and/or
                       citation to the ECF numbers and page numbers);

              (4)      an evaluation of the maximum and minimum damage awards you believe
                       likely;

              (5)      if your client will take the position in settlement discussions that a lack of
                       financial resources will impact your client’s ability to pay a judgment or
                       settlement, a summary of your client’s finances, including cash on hand,
                       ownership interests in properties, business, and other assets; the amount of
                       any relevant mortgage or liens; and recent income tax information; 2

              (6)      the history of any settlement negotiations to date; and

              (7)      estimate of attorneys’ fees and costs of litigation through trial.

        If you wish for me to review any deposition excerpts or exhibits, attach a copy to your letter.
A paper copy of any ex parte letters with attachments that total more than 15 pages in length
should be mailed or hand delivered to chambers with a table of contents. Please highlight
and tab the portions of attachments that you want me to review. I also will review the select
pleadings in the court file. Additionally, if you wish for me to review any case authorities that you
believe are critical to your evaluation of the case, please identify them.

         In addition to submitting ex parte letters as required above, the parties shall exchange
written settlement demands/responses prior to the commencement of the settlement
conference. First, Plaintiff(s) shall forward a written settlement demand to the Defendant(s) no
later than three weeks prior to the settlement conference. Plaintiff(s)’ demand shall particularize, at
a minimum, each category of damages claimed and the method by which it was calculated, as
required by Rule 26(a)(1)(A)(iii) of the Federal Rules of Civil Procedure. Plaintiff(s)’ demand also
shall include any request for non-monetary relief and the explanation and basis therefore.

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  Documentation supporting the contentions in the summary should be provided to opposing counsel prior
to the settlement conference or, if your client is unwilling to provide the documentation to opposing
counsel, the documentation should be attached to the ex parte letter for the Court’s review.
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Defendant(s) shall respond, also in writing, within one week of receiving the demand. The response
shall address each category of damages claimed and shall likewise identify any evidentiary support
for Defendant(s)’ response. If the Defendant(s) intend to respond to the demand by offering nothing,
that shall be expressly stated and the response will include an explanation for this position. THIS
CORRESPONDENCE BETWEEN THE PARTIES SHALL BE INCLUDED WITH THE EX
PARTE LETTERS SUBMITTED TO THE COURT. Failure to comply with the requirements
of this paragraph may result in the postponement or continuation of the settlement
conference.

       The settlement conference process will be confidential and disclosure of confidential
dispute resolution communications is prohibited. See 28 U.S.C. § 652(d). All participants and
attendees in this mediation agree that all communications related to the mediation, and all
negotiations and settlement discussions, communicated in any medium, are private and
confidential.

        You, or anyone on your behalf, may NOT audio or video record any mediation session or
portion thereof. If you learn of an audio or video recording of any session, you shall take immediate
measures to destroy the recording and will not disseminate the recording to third parties. You
further agree that you will not transmit a live or deferred video or audio relay of the online mediation
sessions to third parties.

        In the unlikely event that, during the settlement conference, you are placed into what is
meant to be a private and confidential space, such as a “breakout room,” and find that you
nonetheless can hear or otherwise have access to the confidential conversations or information of
others, you should immediately take steps to correct this and immediately contact the mediator.

        Please note that the American Bar Association Standing Committee on Ethics and
Professional Responsibility has issued a Formal Opinion (No. 93-370) that precludes a lawyer,
ABSENT INFORMED CLIENT CONSENT, from revealing to a judge the limits of the lawyer's
settlement authority or the lawyer’s advice to the client regarding settlement. The opinion does not
preclude a judge, in seeking to facilitate a settlement, from inquiring into those matters. Therefore,
please discuss these items with your client before appearing for the settlement conference.

       Despite the informal nature of this letter, it is an Order of the Court and will be docketed
accordingly.

                                               Very truly yours,

                                                       /S/

                                               Matthew J. Maddox
                                               United States Magistrate Judge
cc:    Court file
